Case 2:21-cr-20264-DPH-KGA ECF No. 202, PagelD.4431 Filed 05/16/25 Page 1 of 3

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

United States of America,
Criminal No. 21-cr-20264
Plaintiff,
V.
Honorable Denise Page Hood
Yili Didani,

Defendant.

VERDICT FORM

We, the jury, unanimously find the following:

COUNT ONE

Question 1: With respect to the charge in Count One of the Superseding
Indictment, which charges the defendant with conspiracy to possess with intent to
distribute and to distribute a controlled substance (Cocaine), we the jury find:

Not Guilty AC Guilty

If you answered guilty in response to Question 1, proceed to Question 2.

Question 2: With respect to Count One, the amount of the mixture or substance
containing a detectable amount of cocaine that was attributable to defendant as the
result of his own conduct and the conduct of other co-conspirators reasonably
foreseeable to him (indicate answer by checking one line below):
Case 2:21-cr-20264-DPH-KGA ECF No. 202, PagelD.4432 Filed 05/16/25 Page 2 of 3

less than 500 grams

at least 500 grams

x at least 5,000 grams (5 kilograms)

COUNT TWO

Question 1: With respect to the charge in Count Two of the Superseding
Indictment for conspiracy to possess with intent to distribute and distribute a
controlled substance (Cocaine) on board a vessel subject to the jurisdiction of the
United States, we the jury find:

Not Guilty X Guilty

If you answered guilty in response to Question |, proceed to Question 2.

Question 2: With respect to Count Two, the amount of the mixture or substance
containing a detectable amount of cocaine that was attributable to defendant as the
result of his own conduct and the conduct of other co-conspirators reasonably
foreseeable to him (indicate answer by checking one line below):

less than 500 grams

at least 500 grams

V ( at least 5,000 grams (5 kilograms)

No
Case 2:21-cr-20264-DPH-KGA ECF No. 202, PagelD.4433 Filed 05/16/25 Page 3 of 3

COUNT THREE

Question 1: With respect to the charge in Count Three of the Superseding
Indictment for conspiracy to launder monetary instruments, we the jury find:

Not Guilty NX Guilty

x

s/Jury Foreperson

In compliance with the Privacy Policy Adopted by
the Judicial Conference, the verdict form with the
original signature has been filed under seal

Date: S/16/ 2olS Foreperson
